      Case 2:18-cv-02545-KHV-KGG Document 141 Filed 12/20/19 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


LAMONTE MCINTYRE, et al.,                     )
                                              )
        Plaintiffs,                           )
                                              )
v.                                            )       Case No. 2:18-cv-02545-KHV-KGG
                                              )
UNIFIED GOVERNMENT OF                         )
WYANDOTTE COUNTY AND                          )
KANSAS CITY, KS, et al.,                      )
                                              )
        Defendants.                           )
                                              )

Plaintiffs’ Response to Defendant Officers’ Memorandum in Support of Issue 1: Plaintiffs’
       Fourth Amendment malicious prosecution claim is not time-barred [ECF 88]

        Plaintiffs’ Fourth Amendment claim for malicious prosecution is timely under binding

Tenth Circuit precedent. “A [Fourth Amendment] claim of malicious prosecution does not accrue

until the criminal proceedings have terminated in the plaintiff’s favor.” Myers v. Koopman, 738

F.3d 1190, 1194 (10th Cir. 2013). Here, Plaintiffs’ § 1983 Fourth Amendment malicious

prosecution claim accrued on October 13, 2017, when his conviction was vacated and his case

dismissed, and his October 11, 2018 Complaint was timely under § 1983’s two-year statute of

limitations.

        Defendants wrongly seek to conflate Plaintiffs’ Fourth Amendment malicious prosecution

claim with an admittedly time-barred false imprisonment claim. But, as the Tenth Circuit has

repeatedly explained, these are two distinct claims and “the two claims do not accrue

simultaneously.” Myers, 738 F.3d at 1194. False imprisonment covers wrongful detention without

any process—for example, arrest without a warrant. Id. Malicious prosecution describes detention

pursuant to wrongful legal process, such as unreasonable arrest based on a warrant or other tainted
      Case 2:18-cv-02545-KHV-KGG Document 141 Filed 12/20/19 Page 2 of 4




judicial determination of probable cause. Id. And the accrual dates for the two claims are different.

False imprisonment claims accrue at “the institution of legal process,” when a police officer’s

wrongful arrest becomes a court-authorized prosecution without probable cause. Id.; see also

Manuel v. City of Joliet, 137 S. Ct. 911, 918–21 (2017) (describing how Fourth Amendment false

imprisonment claim accrued when plaintiff was held following a probable cause hearing within

hours of arrest). Malicious prosecution claims, however, do not accrue until the prosecution has

concluded in plaintiff’s favor. Myers, 738 F.3d at 1194.

        Defendants seem to be arguing that, because Plaintiff was initially detained without a

warrant, he cannot bring a claim for the many months he was later held pretrial under improper

process.1 The Tenth Circuit has already rejected this exact argument in Sanchez v. Hartley, 810 F.3d

750, 757 (10th Cir. 2016). There, as here, “the defendants initially arrested [the plaintiff] without a

warrant…[b]ut after this warrantless arrest, there were multiple judicial determinations of probable

cause to detain [the plaintiff] on all of the pending charges.” Id. There, as here, the plaintiff had a

viable Fourth Amendment malicious prosecution claim arising out of those subsequent judicial

determinations, and the “initial warrantless arrest is immaterial to the validity of this claim.” Id. at

757–58; see also Myers, 738 F.3d at 1195 (“[T]he institution of legal process ‘triggers’ a

malicious-prosecution claim.”); Wilkins v. DeReyes, 528 F.3d 790, 798–99 (10th Cir. 2008)

(recognizing after an initial warrantless arrest, a plaintiff can bring a Fourth Amendment malicious

prosecution claim based on “the probable cause determination made during the constitutionally

required probable cause hearing”).




1
 To be clear, Plaintiffs do not bring a claim for wrongful arrest, which accrued when McIntyre
was bound over by legal process and is time-barred. See Wallace v. Kato, 549 U.S. 384 (2007);
Mondragon v. Thompson, 519 F.3d 1078, 1082 (10th Cir. 2008).
                                                    2
      Case 2:18-cv-02545-KHV-KGG Document 141 Filed 12/20/19 Page 3 of 4




        Next, Defendants argue that because Plaintiff was later wrongly convicted, and suffered

additional deprivations of his constitutional rights, that somehow made his claim for pretrial liberty

deprivation in violation of the Fourth Amendment disappear. Not so. Contrary to Defendants’

misreading of a footnote in Manuel, conviction at trial does not eliminate a plaintiff’s Fourth

Amendment claim; instead, it marks the temporal boundary between the Fourth and Fourteenth

Amendment claims. See Manuel, 137 S. Ct. at 920 n.8. No case law prevents a plaintiff like

McIntyre from pursuing both claims.

        Plaintiff spent approximately six months wrongly detained in violation of his Fourth

Amendment rights, during the period between when he was first held pursuant to unlawful process

and when he was wrongly convicted.2 Plaintiff’s Fourth Amendment malicious prosecution claim

arising out of this violation did not accrue until the favorable termination of the criminal

prosecution, and was timely filed.3




2
  Although the exact date McIntyre was first held pursuant to wrongful legal process is not
specified in the Complaint, it is undisputed it was shortly after his initial wrongful arrest.
3
  To be sure, the case law governing malicious prosecution and wrongful arrest concerns only
when the violation occurred, not what damages might be proximately caused by that violation,
but the Court need not reach this issue now.
                                                   3
     Case 2:18-cv-02545-KHV-KGG Document 141 Filed 12/20/19 Page 4 of 4




Date: December 20, 2019            Respectfully submitted,

                                   LATHROP GAGE LLP


                                   By: /s/ Michael J. Abrams
                                       Michael J. Abrams #15407
                                       William G. Beck #77974
                                       Alexander T. Brown (admitted pro hac vice)
                                       Alana M. McMullin (admitted pro hac vice)
                                       2345 Grand Boulevard, Suite 2200
                                       Kansas City, MO 64108
                                       (816) 292-2000
                                       (816) 292-2001 Facsimile
                                       mabrams@lathropgage.com

                                          Cheryl A. Pilate #14601
                                          Lindsay Runnels #78822
                                          Morgan Pilate, LLC
                                          926 Cherry Street
                                          Kansas City, MO 64106
                                          Telephone: (816) 471-6694
                                          Facsimile: (816) 472-3516
                                          cpilate@morganpilate.com

                                          Barry Scheck (admitted pro hac vice)
                                          Emma Freudenberger (admitted pro hac vice)
                                          Rick Sawyer (admitted pro hac vice)
                                          Amelia Green (admitted pro hac vice)
                                          Neufeld Scheck & Brustin, LLP
                                          99 Hudson Street, Eighth Floor
                                          New York, NY 10013
                                          Telephone: (212) 965-9081
                                          Facsimile: (212) 965-9084
                                          emma@nsbcivilrights.com

                                          Attorneys for Plaintiffs




                                      4
